                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 ERIMIUS SPENCER,                              )    CASE NO.: 1:18-CV-00004
                                               )
        Plaintiff,                             )    JUDGE: JAMES S. GWIN
                                               )
 vs.                                           )    STIPULATION AND ORDER OF
                                               )    DISMISSAL
 THE CITY OF EUCLID, et al.,                   )
                                               )
        Defendants                             )


       We, the attorneys for the respective parties, do hereby stipulate that the above captioned

matter has been settled and should be dismissed with prejudice as to all Defendants. The Court

may enter an Order accordingly, notice by the Clerk being hereby waived.

       IT IS SO ORDERED.


                                                     JUDGE JAMES S. GWIN


 /s/Paul J. Cristallo (via email consent 9/13/18)   s/James A. Climer
 PAUL J. CRISTALLO (0061820)                        JAMES A. CLIMER (0001532)
 The Brownhoist Building                            Mazanec, Raskin & Ryder Co., L.P.A.
 4403 St. Clair Avenue                              100 Franklin’s Row
 Cleveland, OH 44103                                34305 Solon Road
 (440) 472-5262                                     Cleveland, OH 44139
 (216) 881-3928 – Fax                               (440) 248-7906
 Email: paul@cristallolaw.com                       (440) 248-8861 – Fax
                                                    Email: jclimer@mrrlaw.com
 Counsel for Plaintiff
                                                    Counsel for Defendant Euclid Police Officer
                                                    Michael Amiott

 /s/R. Todd Hunt (Via Email Consent 9/13/18)
 R. TODD HUNT (0008951)
 SARA J. FAGNILLI (0029753)
 Walter Haverfield LLP
 The Tower at Erieview
 1301 East Ninth Street, Suite 3500
 Cleveland, Ohio 44114-1821
 Telephone: (216) 781-1212
 Facsimile: (216) 575-0911
 Email: rthunt@walterhav.com
 Email: sfagnilli@walterhav.com

 Attorneys for Defendants City of Euclid and
 Police Officer Shane Rivera




                                           CERTIFICATE OF SERVICE

          I hereby certify that on September 14, 2018, a copy of the foregoing Stipulation for

Dismissal and Journal Entry was filed electronically. Notice of this filing will be sent to all

registered parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.

                                                   s/James A. Climer
                                                   JAMES A. CLIMER (0001532)

                                                   Counsel for Defendants Euclid Police Officer
                                                   Michael Amiott
EUCLID-170342/Stipulation and Order of Dismissal




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